
345 Ill. App. 407 (1952)
103 N.E.2d 164
Emil Solazzi, Plaintiff-Appellee,
v.
Louis Casola and Olive Casola, Defendants-Appellants.
Gen. No. 10,545.
Illinois Appellate Court.
Opinion filed January 8, 1952.
Released for publication January 28, 1952.
Alex J. Victor, and John S. Ghent, for appellant.
Thomas &amp; Davis, for appellee.
Charles H. Davis, of counsel.
(Abstract of Decision.)
Opinion by PRESIDING JUSTICE DOVE.
Judgment reversed and cause *408 remanded with directions.
Not to be published in full.
